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                        UNITED STATES DISTRICT COURT

                             DISTRICT OF MINNESOTA


                                                       CASE NO. 19-CV-1219 (DSD/TNL)
 Kristine M. West,

        Plaintiff,
                                                         ORDER FOR
 v.                                                SETTLEMENT CONFERENCE

 Townsquare Media, Inc.,

        Defendant.



       1.     A settlement conference shall be held on April 3, 2020, at 10:00 a.m., in

Courtroom 9W, United States Courthouse, 300 South Fourth Street, Minneapolis,

Minnesota, before the undersigned United States Magistrate Judge.

       2.     All participants shall plan on spending the entire day and evening, if

necessary, at this settlement conference. Any flight or other travel reservations made for

any time during the above day(s) of the settlement conference, including without limitation,

any late afternoon or evening flight, shall be at the sole risk and expense of the person or

party making such reservation.

       3.     Counsel who will actually try the case and each party, armed with full

settlement authority, shall be present. This means:

              a.     Physical presence in the courthouse shall be mandatory. Electronic

                     availability shall not be deemed to be in compliance with this Order.
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              b.     Each party must attend through a person who has the power to change

                     that party's settlement posture during the course of the conference. If

                     the party representative has a limit, or "cap" on his or her authority,

                     this requirement is not satisfied. If individuals are parties to this case,

                     they must be present. If a corporation or other collective entity is a

                     party, a duly authorized officer or managing agent of that party shall

                     be present. If an insurance company is involved on behalf of any

                     party, a representative of the insurer with full authority to make a final

                     decision and the power to pay the policy limits must also attend the

                     settlement conference.

              c.     If a general counsel or in-house counsel is designated to represent a

                     non-government or non-law practice entity at the settlement

                     conference, then such counsel shall also be accompanied by an entity

                     representative whose primary duties do not entail practicing law on

                     behalf of the entity and who has full authority to make a final decision.

              d.     Pro hac vice counsel who will actually try the case must be present

                     with local affiliated counsel.

       4.     If counsel or the parties anticipate needing Internet access, they should make

available to themselves the ability to connect wirelessly with the Internet. Counsel and the

parties should make all arrangements for any equipment or technology needed for editing

or creating settlement documents and the like.




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       5.     In order to encourage the parties to address the issue of settlement on their

own, counsel must meet in person with one another on or before TWO WEEKS

EARLIER, to engage in full and frank discussion of settlement. If the case does not settle,

each attorney shall submit to the undersigned on or before ONE WEEK EARLIER, a

confidential letter setting forth as follows:

              a.      The parties' respective settlement positions before the meeting;

              b.      The parties' respective positions following the meeting;

              c.      A concise analysis of each remaining liability issue, with citation to

                      relevant authority;

              d.      A reasoned, itemized computation of each element of the alleged

                      damages, with a concise summary of the testimony of each witness

                      who will testify in support of the damage computations;

              e.      A reasoned analysis of the strengths and weaknesses of their client's

                      case;

              f.      A reasoned analysis justifying their client's last stated settlement

                      position, as well as any additional information believed to be helpful

                      to the process of reaching agreement; and

              g.      An estimated statement of attorney’s fees and costs needed to (1)

                      complete dispositive motion briefing, if such briefing has not been

                      completed, (2) to complete all necessary discovery (including expert

                      discovery), if such discovery has not been completed, (3) to prepare

                      for trial, and (4) to try the case.


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       This letter is for settlement purposes and the Court's use only, and should not be

served on opposing counsel. Counsel shall submit their confidential settlement letter of 10

or   fewer     pages     (including    attachments)     to      chambers     by   e-mail   to

leung chambers@mnd.uscourts.gov.

       6.     All prior consistent orders remain in full force and effect.

       7.     Failure to comply with any provision of this Order or any other consistent

order shall subject the non-complying party, non-complying counsel and/or the party such

counsel represents to any and all appropriate remedies, sanctions and the like, including

without limitation: assessment of costs, fines and attorneys’ fees and disbursements; waiver

of rights to object; exclusion or limitation of witnesses, testimony, exhibits and other

evidence; striking of pleadings; complete or partial dismissal with prejudice; entry of whole

or partial default judgment; and/or any other relief that the

undersigned may from time to time deem appropriate.



       IT IS SO ORDERED.



Dated: February 13, 2020                          s/Tony N. Leung
                                           Tony N. Leung
                                           United States Magistrate Judge
                                           District of Minnesota

                                           West v. Townsquare Media, Inc.
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